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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division


UNITED STATES OF AMERICA


V.                                        Civil Action No: 3:20CV575
                                          Criminal No. 3:00CR71
JEFFREY A. PLEASANT


                            MEMORANDUM OPINION


     By Memorandum Opinion and Order entered on December 28, 2018,

the Court denied Jeffrey A. Pleasant's successive motion under 28

U.S.C. § 2255 that had been authorized by the United States Court

of Appeals for the Fourth Circuit ("Successive § 2255 Motion").

United States v. Pleasant, No. 3:00CR71, 2018 WL 6834358, at *5

(E.D. Va. Dec. 28, 2018).       On July 29, 2020, the Court received

from Pleasant a motion seeking relief under Federal Rule of Civil

Procedure 60(b) ("Rule 60(b) Motion").i       In his Rule 60(b) Motion,

Pleasant contends that the December 28, 2018 Judgment denying his

Successive § 2255 Motion is void because, although he invoked the

Court's jurisdiction under 28 U.S.C § 2255, he used a form for

seeking relief under 28 U.S.C. § 2254.             As discussed below,

Pleasant's Rule 60(b) Motion is simply frivolous.

                       I.     PROCEDURAL HISTORY


     Following a jury trial, Jeffrey A. Pleasant was convicted of

two counts of interfering with commerce by threats or violence.



     ^ The Clerk filed Pleasant's Rule 60(b) Motion as a new civil
action because Pleasant did not list his criminal action number on
the 60(b) Motion. Instead, he indicated that he wished to have
the 60(b) Motion processed as a new civil action.
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